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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 LAKEWOOD CONCRETE CORP., on behalf of
 itself and all others similarly situated,

                         Plaintiff,

                v.

 SIKA AG; SIKA CORPORATION; CHRYSO,
 INC.; GCP APPLIED TECHNOLOGIES, INC.;
 COMPAGNIE DE SAINT-GOBAIN S.A.; SAINT-                  Case No. 2:23-cv-04797-KNS
 GOBAIN NORTH AMERICA; MASTER
 BUILDERS SOLUTIONS ADMIXTURES U.S.,
 LLC; MASTER BUILDERS SOLUTIONS
 DEUTSCHLAND GMBH; CINVEN LTD.;
 CINVEN, INC.; THE EUCLID CHEMICAL
 COMPANY; RPM INTERNATIONAL INC.; and
 DOES 1-10,

                         Defendants.


                       MOTION FOR WITHDRAWAL OF COUNSEL

       Pursuant to Local Rule 5.1(c), I hereby I hereby move for withdrawal as counsel for

Lakewood Concrete Corp. I have left Cuneo Gilbert & LaDuca, LLP (“CGL”) to begin an

independent law practice. Lakewood Concrete Corp. will continue to be represented by other

counsel of record.

 Dated: April 17, 2024                        /s/ Blaine Finley
                                              Blaine Finley
                                              10802 Cedar Creek Drive
                                              Spotsylvania, VA 22551
                                              blainefinley@gmail.com
                                              281-723-7904
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                                CERTIFICATE OF SERVICE

       I certify that on April 17, 2024, I filed the foregoing document with the Clerk of the Court

for the United States District Court for the Eastern District of Pennsylvania by using the Court’s

CM/ECF system and served counsel of record via this Court’s CM/ECF system.

                                                  /s/ Blaine Finley
                                                  Blaine Finley
